 ON SUGGESTION OF ERROR
This Court affirmed a judgment of the Circuit Court of Lowndes County, Mississippi, in favor of E. Gladstone Perkins and his wife for money lost in a gambling game. The suit was brought under the authority of Mississippi Code Annotated section 24 (1956), and, of course, the jury was the trier of facts and the judge of the amount lost. We found no error in the record shown in the trial worthy of discussion and for that reason no opinion was written.
The appellants' suggestion of error simply requests this Court to write an opinion. We have reread the original briefs, and since this is not a case in which this Court is required to write an opinion to settle "important principles", we now decline to detail the reasons we are convinced that the judgment of the trial court should be sustained.
It is utterly impossible to write opinions in every case appealed to this Court, and for that reason the law only requires opinions to be written in a limited category of cases. Mississippi Code Annotated section 1963 (1956).
Suggestion of error overruled.
ETHRIDGE, C.J., and PATTERSON, SMITH and ROBERTSON, JJ., concur.